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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                      §
                              §
       Plaintiff,             §
VS.                           § CIVIL ACTION NO. 3:17-CV-001
                              §
FOOD AND DRUG ADMINISTRATION, §
et al,                        §
                              §
       Defendants.            §

                                     NOTICE OF SETTING


            A telephonic status conference is set at the following date and time:

                                May 29, 2018 at 9:30 a.m., CST

      Parties should be prepared to discuss all pending issues before the Court.

        Please call the conference line at 409-763-7801 ten minutes prior to the scheduled

hearing. Once you call the number, you will be connected to the meet-me-line; there will be

silence so please hold until the Case Manager calls in to connect all parties. Everyone must be on

a landline. No cell phones or speaker phones are permitted. If you have a volume control, please

be sure that it is turned up. If more than one attorney/party is on the line, for clarity of the record,

please state your name when responding to the Court.

        Failure to appear may result in the case being dismissed for want of prosecution and/or

sanctions as deemed appropriate by the Court.


        Date: May 21, 2018                              Susan Gram
                                                        Case Manager to
                                                        U.S. District Judge George C. Hanks, Jr.



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